In The Matter Of:
Fayetteville Public Library, et al v.

Crawford County, Arkansas, et al

Madeline Anne Partain
March 15, 2024
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Michelle Satterfield, CCR
1955 Little River Drive
Conway, Arkansas 72034
(501)336-7414

Satterfield@conwaycorp.net

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville,

State of Arkansas; EUREKA SPRINGS CARNEGIE

PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY

SYSTEM; NATE COULTER; OLIVIA FARRELL;

HAYDEN KIRBY;MIEL PARTAIN, in her own capacity

and as parent and next friend of MADELINE PARTAIN;
LETA CAPLINGER; ADAM WEBB;

ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR

ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a
WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND

and FREEDOM TO READ FOUNDATION, PLAINTIFFS

vs. NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his
official capacity as Crawford County Judge;

TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;

MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;

JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,
II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each and in his or her official capacity as a
prosecuting attorney for the State of Arkansas, DEFENDANTS

ORAL DEPOSITION
OF

MADELINE ANNE PARTAIN

*e¥*e*ee% THE ABOVE-STYLED MATTER was reported by Michelle R.
Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
Law Firm, located at 1101 Walnut, Van Buren, Arkansas,

commencing on the 15th day of March 2023, at 8:24 a.m.
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TOPIC

APPEARANCES

STIPULATIONS

WITNESS SWORN: Madeline Anne Partain

Examination by Mr. McLelland
Examination by Mr. Watson
Examination by Ms. Brownstein
Examination by Mr. Adams

Further Examination by Ms. McLelland
Further Examination by Mr. Watson

Further Examination by Ms. Brownstein

REPORTER'S CERTIFICATE

NUMBER

Deft's 1

EXHIBITS
DESCRIPTION

Copy of Amended Complaint-Document 75

41;49;52
47;56
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PAGE

(COPY OF EXHIBIT SCANNED INTO ETRANSCRIPT)

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MS. BROWNSTEIN: Are you finished with the
question? I need to object. I object to your
characterization that it does not deal with
LGBTQ theme. It does not state LGBT -- I can't
even say it, but it does not mean it does not --
will not deal with it.

BY MR. WATSON:

Q Okay. Based on your understanding, do all books that
deal with LGBTQ themes deal with nudity, sexual conduct,
sexual excitement or sadomasochistic abuse?

A No.

Q Okay. And, again, I apologize, this is an
uncomfortable question. Are there any books, specifically
that you are aware of, that would fall under this category

of books that you know you would want to read?

A Yes.
Q There are. Okay. What are those books?
A I can't think of specific titles at the moment, off

the top of my head.

Ones that I have read, gosh, a specific author is
Colleen Hoover and John Green.
Q And what about their books -- and I understand that
you don't -- if you think of any titles as we go along,
feel free to come back to that.

What about their books includes, you know, that list

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of things that I just mentioned?

Just forget I asked that question and let me rephrase
it. The books of theirs that you've read, is the entire
book or most of the book even dealing with these things
that I named; nudity, sexual conduct, sexual excitement
and sadomasochistic abuse?

A Is your question if -- can you rephrase the question?
Q Yeah. So in a book there might be -- you know, their
themes, kind of the literature term for theme and
sometimes those themes are the entire book is about that
one thing. Sometimes it might just be a few pages in the
book deal with that and it's just something that pops up a
couple of times.

So I'm asking of the books that you've read of
theirs, which category does that fall in? Is it something
that the entire book is about, or is it something that
just appears in a few pages?

A It appears.

Q Okay. So it's safe to say that you have not
previously read any books that are dedicated to discussing
these topics?

A No.

Q Okay. And do you intend or are there any books that
you are aware of, that you want to read, that are

predominantly concerned with those topics?

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A No.
Q Okay. I hope that's the end of the awkward questions
that I have. You know, there's my warning, but if it
comes up again, I'm sorry.

So now I want to go back, very quickly, to Section 5.
So this is about the library specifically. Are you aware
of anyone -- so part of the way that Section 5 is set up,
it allows certain people to challenge books that are in
the library's collection.

Are you aware of that?
A Yes.
Q Are you aware of anyone who has said that they want
to challenge a book in the library's collection?
A No one specifically, no.
Q When you say no one specifically -- and we have to be
very technical. So when you say no one specifically, are
you aware of someone generally?
A I imagine Tammi Hamby would, considering she is of
the belief that books -- certain books shouldn't be
available to minors.
Q But you're unaware of her ever saying that she

planned on challenging a book --

A No.
Q -- you're just making an assumption?
A Yes.

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CERTIFICATE

STATE OF ARKANSAS
COUNTY OF FAULKNER
RE: ORAL DEPOSITION OF MADELINE ANNE PARTAIN

I, Michelle R. Satterfield, CCR, a Notary Public in and
for Faulkner County, Arkansas, do hereby certify that the
transcript of the foregoing deposition accurately reflects
the testimony given; and that the foregoing was
transcribed by me, or under my supervision, on my Eclipse
computerized transcription system from my machine
shorthand notes taken at the time and place set out on the
caption hereto, the witness having been duly cautioned and
sworn, or affirmed, to tell the truth, the whole truth and
nothing but the truth.

I FURTHER CERTIFY that I am neither counsel for, related
to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further that I am
not a relative or employee of any attorney or counsel
employed by the parties hereto, nor financially
interested, or otherwise, in the outcome of this action.
In accordance with the Arkansas Rules of Civil Procedure,
Rule 30(e), review of the foregoing transcript by the
witness was not requested by the deponent or any party
thereto.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 24th
day of March 2024.

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Michelle R. Satterfield, CCR
LS Certificate No. 570
Notary Public in and for
Faulkner County, Arkansas

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